
951 A.2d 345 (2008)
Michael MARCAVAGE, Mark Diener, Linda Beckman, Randall Beckman, Susan Startzell, Arlene Elshinnawy and Nancy Major
v.
Edward G. RENDELL, Governor of the Commonwealth of Pennsylvania, John M. Perzel, Speaker Of The Pennsylvania House Of Representatives, Robert C. Jubelirer, President Pro Tempore of the Pennsylvania Senate, Honorable Pedro A. Cortes, Secretary of the Commonwealth of Pennsylvania, All in Their Official Capacities and Not in Their Private Capacities, and Commonwealth of Pennsylvania.
Appeal of Commonwealth of Pennsylvania, Edward G. Rendell, Governor of the Commonwealth of Pennsylvania &amp; Honorable Pedro A. Cortes, Secretary of the Commonwealth of Pennsylvania.
Supreme Court of Pennsylvania.
July 23, 2008.
*346 Howard Greeley Hopkirk, Esq., Calvin Koons, Office of Attorney General, John G. Knorr, III, Esq., PA Office of Attorney General, Thomas W. Corbett, Jr., Esq., Harrisburg, for Commonwealth of PA; Governor Rendell &amp; Secretary Cortes, Appellant.
Jonathan F. Bloom, Esq., Stradley, Ronon, Stevens &amp; Young, L.L.P., Philadelphia, for John M. Perzel, Appellee.
Linda J. Shorey, Esq., Kirkpatrick &amp; Lockhart Preston Gates Ellis L.L.P., John P. Krill, Jr., Esq., Harrisburg, for Robert C. Jubelirer, Appellee.
Aaron Diego Martin, Esq., Martin Law Offices, L.L.P., Kennett Square, for Marcavage, Diener, Beckman L., Beckman R., Startzell, Elshinnawy &amp; Major, Appellee.
Michael David O'Mara, Esq., Jason K. Cohen, Esq., Thomas Walter Dymeck, Esq., Stradley, Ronon, Stevens &amp; Young, L.L.P., Philadelphia, for John M. Perzel, Appellee.
C. Clark Hodgson, Jr., Esq., Leslie Miller Greenspan, Esq., Stradley, Ronon, Stevens &amp; Young, L.L.P., Philadelphia, for John M. Perzel, Appellee.
Amy L. Groff, Esq., Harrisburg, for Robert C. Jubelirer, Appellee.
Benjamin D. DuPre, Gregory M. Jones, Roy S. Moore, pro hoc vice, Montgomery, AL, for Marcavage, Diener, Beckman L., Beckman R., Startzell, Elshinnawy &amp; Major, Appellee.
Prior Report: Pa.Cmwlth., 936 A.2d 188.

ORDER
PER CURIAM.
AND NOW, this 23rd day of July, 2008, the order of the Commonwealth Court is AFFIRMED for the reasons ably set forth in the opinion of the Honorable James Gardner Colins, which opinion is adopted as that of the Supreme Court. See Marcavage v. Rendell, 936 A.2d 188 (Pa.Cmwlth. 2007).
